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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

JOHN EASTMAN,

               Plaintiff,
       v.                                                            No. CIV 22-mc-23 RB/KK

UNITED STATES OF AMERICA,

               Defendant.

                                             NOTICE

       On July 8, 2022, Plaintiff filed an Amended Motion for Return of Seized Property Under

Fed. R. Crim. P. 41(g) and Request for Injunctive and Other Relief. Doc. 6. On July 15, 2022,

the Court entered an order denying Plaintiff’s motion for a temporary restraining order and setting

a further briefing schedule on the remainder of his motion. Doc. 8. In that order, the Court required

the Government “to provide notice to the Court, no later than Wednesday, July 27, 2022, on the

location of the phone and information on whether the investigative team has applied for a second

warrant.” Id. at 11. By this filing, the United States provides the required notice.

       The United States is in possession of Plaintiff’s cell phone, as well as a manual screen

capture of certain contents of the device obtained by an agent not associated with the investigation

team. Plaintiff’s cell phone and the manual screen capture currently are in Northern Virginia, in

the possession of federal agents with the Department of Justice, Office of Inspector General. On

July 12, 2022, a federal agent obtained a second federal search warrant from the U.S. District Court

for the District of Columbia that authorizes review of the contents of Plaintiff’s cell phone and the

manual screen capture. The warrant includes a filter protocol, which has been provided to

Plaintiff’s counsel.
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                                                  Respectfully submitted,

                                                  MATTHEW M. GRAVES
                                                  United States Attorney
                                                  for the District of Columbia

                                             By: /s/ Thomas P. Windom July 27, 2022
                                                 Thomas P. Windom
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                                                  ALEXANDER M.M. UBALLEZ
                                                  United States Attorney
                                                  for the District of New Mexico

                                                  /s/ Roberto D. Ortega July 27, 2022
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 27, 2022, I filed the foregoing pleading electronically
through the CM/ECF system, which caused the following party or counsel of record to be served
by electronic means, as more fully reflected on the Notice of Electronic Filing.

       Charles Burnham: charles@burnhamgorokhov.com
       Joseph Gribble: jjg@crowleygribble.com

                                              /s/ Thomas P. Windom, 7/27/22
                                              Thomas P. Windom
                                              Assistant United States Attorney




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